             Case 1:22-cv-01249-RP-DH Document 14 Filed 11/30/22 Page 1 of 18




                                UNITED STATES DISTRICT COURT
PHILIP J. DEVLIN                 WESTERN DISTRICT OF TEXAS                                 ANNETTE FRENCH
CLERK OF COURT                         501 West 5th Street, Ste. 1100                       CHIEF DEPUTY
                                            Austin, TX 78701


                                           November 30, 2022


   Matthew Baker
   #2227525
   TDCJ Robertson Unit
   12071 FM 3522
   Abilene, TX 79601

   RE: Case No. 1:22-cv-01249-RP-DH; Matthew Baker et al. v. Bryan Collier et al.

   Dear Mr. Baker:

   This is to acknowledge receipt of your Civil Rights Complaint in the above captioned case.

   Your case has been assigned docket number 1:22-cv-01249-RP and assigned to the Honorable
   Robert Pitman. The file has been referred to Magistrate Judge Dustin M. Howell for a
   determination of the Motion to Proceed and a recommendation on the merits

             All documents must be filed with the U.S. Clerk’s Office in the following manner:

             An original and one copy of each document, including exhibits, must be submitted to
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             Documents must be signed by the moving party and contain the signer’s full contact
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             Documents, including exhibits, must be submitted on paper no larger than 8 ½ x 11 and
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             accommodate scanning and filing into the electronic docket.
       Case 1:22-cv-01249-RP-DH Document 14 Filed 11/30/22 Page 2 of 18

       Documents submitted for filing and any subsequent correspondence in relation to this
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delays.

You must keep the court informed of your current address throughout the pendency of
your case. Failure to do so may result in the dismissal of your case for want of prosecution.


                                              Very truly yours,


                                              Deputy Clerk/dm
             Case 1:22-cv-01249-RP-DH Document 14 Filed 11/30/22 Page 3 of 18




                                UNITED STATES DISTRICT COURT
PHILIP J. DEVLIN                 WESTERN DISTRICT OF TEXAS                                 ANNETTE FRENCH
CLERK OF COURT                         501 West 5th Street, Ste. 1100                       CHIEF DEPUTY
                                            Austin, TX 78701


                                           November 30, 2022


   Robert Andrews
   #2214727
   TDCJ Robertson Unit
   12071 FM 3522
   Abilene, TX 79601

   RE: Case No. 1:22-cv-01249-RP-DH; Matthew Baker et al. v. Bryan Collier et al.

   Dear Mr. Andrews:

   This is to acknowledge receipt of your Civil Rights Complaint in the above captioned case.

   Your case has been assigned docket number 1:22-cv-01249-RP and assigned to the Honorable
   Robert Pitman. The file has been referred to Magistrate Judge Dustin M. Howell for a
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       Case 1:22-cv-01249-RP-DH Document 14 Filed 11/30/22 Page 4 of 18

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                                              Very truly yours,


                                              Deputy Clerk/dm
             Case 1:22-cv-01249-RP-DH Document 14 Filed 11/30/22 Page 5 of 18




                                UNITED STATES DISTRICT COURT
PHILIP J. DEVLIN                 WESTERN DISTRICT OF TEXAS                                 ANNETTE FRENCH
CLERK OF COURT                         501 West 5th Street, Ste. 1100                       CHIEF DEPUTY
                                            Austin, TX 78701


                                           November 30, 2022


   Timothy Cone
   #1688760
   TDCJ Robertson Unit
   12071 FM 3522
   Abilene, TX 79601

   RE: Case No. 1:22-cv-01249-RP-DH; Matthew Baker et al. v. Bryan Collier et al.

   Dear Mr. Cone:

   This is to acknowledge receipt of your Civil Rights Complaint in the above captioned case.

   Your case has been assigned docket number 1:22-cv-01249-RP and assigned to the Honorable
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       Case 1:22-cv-01249-RP-DH Document 14 Filed 11/30/22 Page 6 of 18

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                                              Very truly yours,


                                              Deputy Clerk/dm
             Case 1:22-cv-01249-RP-DH Document 14 Filed 11/30/22 Page 7 of 18




                                UNITED STATES DISTRICT COURT
PHILIP J. DEVLIN                 WESTERN DISTRICT OF TEXAS                                 ANNETTE FRENCH
CLERK OF COURT                         501 West 5th Street, Ste. 1100                       CHIEF DEPUTY
                                            Austin, TX 78701


                                           November 30, 2022


   James Elmore
   #2273850
   TDCJ Robertson Unit
   12071 FM 3522
   Abilene, TX 79601

   RE: Case No. 1:22-cv-01249-RP-DH; Matthew Baker et al. v. Bryan Collier et al.

   Dear Mr. Elmore:

   This is to acknowledge receipt of your Civil Rights Complaint in the above captioned case.

   Your case has been assigned docket number 1:22-cv-01249-RP and assigned to the Honorable
   Robert Pitman. The file has been referred to Magistrate Judge Dustin M. Howell for a
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       Case 1:22-cv-01249-RP-DH Document 14 Filed 11/30/22 Page 8 of 18

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                                              Very truly yours,


                                              Deputy Clerk/dm
             Case 1:22-cv-01249-RP-DH Document 14 Filed 11/30/22 Page 9 of 18




                                UNITED STATES DISTRICT COURT
PHILIP J. DEVLIN                 WESTERN DISTRICT OF TEXAS                                 ANNETTE FRENCH
CLERK OF COURT                         501 West 5th Street, Ste. 1100                       CHIEF DEPUTY
                                            Austin, TX 78701


                                           November 30, 2022


   Adam Thomas
   #2254371
   TDCJ Robertson Unit
   12071 FM 3522
   Abilene, TX 79601

   RE: Case No. 1:22-cv-01249-RP-DH; Matthew Baker et al. v. Bryan Collier et al.

   Dear Mr. Thomas:

   This is to acknowledge receipt of your Civil Rights Complaint in the above captioned case.

   Your case has been assigned docket number 1:22-cv-01249-RP and assigned to the Honorable
   Robert Pitman. The file has been referred to Magistrate Judge Dustin M. Howell for a
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       Case 1:22-cv-01249-RP-DH Document 14 Filed 11/30/22 Page 10 of 18

       Documents submitted for filing and any subsequent correspondence in relation to this
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                                              Very truly yours,


                                              Deputy Clerk/dm
            Case 1:22-cv-01249-RP-DH Document 14 Filed 11/30/22 Page 11 of 18




                                UNITED STATES DISTRICT COURT
PHILIP J. DEVLIN                 WESTERN DISTRICT OF TEXAS                                 ANNETTE FRENCH
CLERK OF COURT                         501 West 5th Street, Ste. 1100                       CHIEF DEPUTY
                                            Austin, TX 78701


                                           November 30, 2022


   William Oliver
   #2290434
   TDCJ Robertson Unit
   12071 FM 3522
   Abilene, TX 79601

   RE: Case No. 1:22-cv-01249-RP-DH; Matthew Baker et al. v. Bryan Collier et al.

   Dear Mr. Oliver:

   This is to acknowledge receipt of your Civil Rights Complaint in the above captioned case.

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       Case 1:22-cv-01249-RP-DH Document 14 Filed 11/30/22 Page 12 of 18

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                                              Very truly yours,


                                              Deputy Clerk/dm
            Case 1:22-cv-01249-RP-DH Document 14 Filed 11/30/22 Page 13 of 18




                                UNITED STATES DISTRICT COURT
PHILIP J. DEVLIN                 WESTERN DISTRICT OF TEXAS                                 ANNETTE FRENCH
CLERK OF COURT                         501 West 5th Street, Ste. 1100                       CHIEF DEPUTY
                                            Austin, TX 78701


                                           November 30, 2022


   Seth Batterton
   #2154923
   TDCJ Robertson Unit
   12071 FM 3522
   Abilene, TX 79601

   RE: Case No. 1:22-cv-01249-RP-DH; Matthew Baker et al. v. Bryan Collier et al.

   Dear Mr. Batterton:

   This is to acknowledge receipt of your Civil Rights Complaint in the above captioned case.

   Your case has been assigned docket number 1:22-cv-01249-RP and assigned to the Honorable
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       Case 1:22-cv-01249-RP-DH Document 14 Filed 11/30/22 Page 14 of 18

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                                              Very truly yours,


                                              Deputy Clerk/dm
            Case 1:22-cv-01249-RP-DH Document 14 Filed 11/30/22 Page 15 of 18




                                UNITED STATES DISTRICT COURT
PHILIP J. DEVLIN                 WESTERN DISTRICT OF TEXAS                                 ANNETTE FRENCH
CLERK OF COURT                         501 West 5th Street, Ste. 1100                       CHIEF DEPUTY
                                            Austin, TX 78701


                                           November 30, 2022


   Dannie Carter
   #2013581
   TDCJ Robertson Unit
   12071 FM 3522
   Abilene, TX 79601

   RE: Case No. 1:22-cv-01249-RP-DH; Matthew Baker et al. v. Bryan Collier et al.

   Dear Mr. Carter:

   This is to acknowledge receipt of your Civil Rights Complaint in the above captioned case.

   Your case has been assigned docket number 1:22-cv-01249-RP and assigned to the Honorable
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       Case 1:22-cv-01249-RP-DH Document 14 Filed 11/30/22 Page 16 of 18

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                                              Very truly yours,


                                              Deputy Clerk/dm
            Case 1:22-cv-01249-RP-DH Document 14 Filed 11/30/22 Page 17 of 18




                                UNITED STATES DISTRICT COURT
PHILIP J. DEVLIN                 WESTERN DISTRICT OF TEXAS                                 ANNETTE FRENCH
CLERK OF COURT                         501 West 5th Street, Ste. 1100                       CHIEF DEPUTY
                                            Austin, TX 78701


                                           November 30, 2022


   Juan Martinez
   #2017980
   TDCJ Robertson Unit
   12071 FM 3522
   Abilene, TX 79601

   RE: Case No. 1:22-cv-01249-RP-DH; Matthew Baker et al. v. Bryan Collier et al.

   Dear Mr. Martinez:

   This is to acknowledge receipt of your Civil Rights Complaint in the above captioned case.

   Your case has been assigned docket number 1:22-cv-01249-RP and assigned to the Honorable
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       Case 1:22-cv-01249-RP-DH Document 14 Filed 11/30/22 Page 18 of 18

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                                              Deputy Clerk/dm
